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                                   3                                UNITED STATES DISTRICT COURT

                                   4
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   7   AASYLEI LOGGERVALE, AAOTTAE
                                       LOGGERVALE, and AASYLEI
                                   8   HARDGE-LOGGERVALE,                                No. C 20-04679 WHA

                                   9                 Plaintiffs,

                                  10           v.                                        FINAL JUDGMENT
                                  11   STEVEN HOLLAND, MONICA POPE,
                                       and COUNTY OF ALAMEDA,
                                  12
Northern District of California




                                                     Defendants.
 United States District Court




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                                            Based on the unanimous verdict, judgment is entered IN FAVOR of Ms. Aasylei
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                                       Loggervale for $2,750,000 jointly and severally AGAINST Deputy Steven Holland and the
                                  16
                                       County of Alameda. Judgment is entered IN FAVOR of Aaottae Loggervale for $2,000,000
                                  17
                                       jointly and severally AGAINST Deputy Steven Holland and the County of Alameda. Judgment
                                  18
                                       is entered IN FAVOR of Aasylei Hardge-Loggervale for $2,000,000 jointly and severally
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                                       AGAINST Deputy   Steven Holland and the County of Alameda. Judgment is entered IN FAVOR
                                  20
                                       of Aaottae Loggervale for $750,000 jointly and severally AGAINST Deputy Monica Pope and
                                  21
                                       the County of Alameda. Judgment is entered IN FAVOR of Aasylei Hardge-Loggervale for
                                  22
                                       $750,000 jointly and severally AGAINST Deputy Monica Pope and the County of Alameda.
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                                            IT IS SO ORDERED.
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                                       Dated: March 1, 2023.
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                                  27                                                       WILLIAM ALSUP
                                                                                           UNITED STATES DISTRICT JUDGE
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